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                    8                                   UNITED STATES DISTRICT COURT
                    9                             NORTHERN DISTRICT OF CALIFORNIA
                  10

                  11     WHATSAPP INC., a Delaware                   Case No. 4:19-cv-07123-PJH
                         corporation, and FACEBOOK, INC., a
                  12     Delaware corporation,                       KING & SPALDING LLP’S OPPOSITION
                                                                     TO MOTION TO DISQUALIFY
                  13                      Plaintiffs,
                                                                     Date:               June ___, 2020
                  14     v.                                          Time:               9:00 a.m.
                                                                     Courtroom:          3, Third Floor
                  15     NSO GROUP TECHNOLOGIES                      Judge:              Hon. Phyllis J. Hamilton
                         LIMITED and Q CYBER
                  16     TECHNOLOGIES LIMITED,

                  17                      Defendants.

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                  22           REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
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465 CALIFORNIA STREET,                                                      KING & SPALDING LLP’S OPPOSITION TO MOTION
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                                                                                        TO DISQUALIFY – 4:19-cv-07123-PJH
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                    1    I.      INTRODUCTION
                    2            Disqualification is a drastic, disfavored and disruptive remedy that is unwarranted here.

                    3    Four years ago, WhatsApp looked to then King & Spalding (“K&S”) attorneys Christopher Wray

                    4    and Cathy O’Neil to                                                   and to provide the company

                    5    legal advice

                    6                                                                 (“Sealed Matter”) over a four month

                    7    period.1 But, as WhatsApp reluctantly concedes in passing, Ms. O’Neil, Mr. Wray and Nick

                    8    Oldham, another K&S attorney who performed minimal work on the file, departed K&S long

                    9    before WhatsApp filed this action on October 29, 2019. (Motion, p. 4.) In 2017, Ms. O’Neil

                  10     passed away, Mr. Wray left K&S after being nominated and then appointed as Director of the FBI

                  11     (a fact WhatsApp failed to mention in its motion) and Mr. Oldham became Chief Privacy Officer

                  12     at Equifax. To the extent these lawyers acquired any confidences through the Sealed Matter,

                  13     there is no possibility that they could have shared them with any member of K&S’ NSO Group

                  14     Technologies Limited (“NSO”) defense team. The Sealed Matter case materials were not

                  15     accessed by the NSO defense team and are now completely inaccessible to anyone in the Firm

                  16     (with the exception of General Counsel’s Office as necessary to respond to WhatsApp’s request

                  17     for its file and to oppose this motion). The entirety of the remaining file materials in the Sealed

                  18     Matter were sent to WhatsApp on April 17 and May 8, 2020.

                  19             Yet, WhatsApp claims K&S has gone from “trusted advisor” to a “fierce adversary”

                  20     seeking to “turn the tables” on WhatsApp and insists confidential information is at risk of

                  21     disclosure. (Motion, p. 2.) Why? Because between February 9-11, 2016, a K&S attorney, Paul

                  22     Mezzina, spent 7.9 hours researching and preparing a “quick report” on

                  23                                                                          WhatsApp ignores that Mr.

                  24     Mezzina’s name is absent from WhatsApp’s sole evidentiary support for its motion: the

                  25     Declaration of Jacob Sommer. Because Mr. Mezzina never spoke, even once, with any

                  26
                         1
                  27      Contrary to WhatsApp’s presentation in its Motion, K&S effectively concluded its
                         representation of the company on March 16, 2016, when it recorded its last substantive time and
                  28     formally closed its file in July 2016. Declaration of M. Robert Thornton (“Thornton Decl.”) Ex. 1
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                    1    WhatsApp representative, never attended any meeting with WhatsApp, and did not draft or revise

                    2    WhatsApp’s correspondence or court filings in the Sealed Matter, WhatsApp cannot provide the

                    3    Court any evidence that Mr. Mezzina (or any current K&S lawyer) ever possessed any

                    4    confidential information material to the defense of NSO. Nevertheless, according to WhatsApp,

                    5    under CRPC Rule 1.9 Mr. Mezzina’s mere membership in K&S is a sufficient basis for stripping

                    6    NSO of its counsel of choice and sending the Israeli company back into a foreign legal

                    7    marketplace dominated by WhatsApp and Facebook.

                    8           WhatsApp’s focus on Rule 1.9 is misplaced. Where lawyers who represented a former

                    9    client have left a firm, as did Mr. Wray, Ms. O’Neil and Mr. Oldham, Rule 1.10(b) permits the
                  10     law firm to represent a client in a matter adverse to a former client unless the matters are

                  11     substantially related and any attorney remaining at the firm possesses material confidential

                  12     information. K&S satisfies all the elements of the Rule. No matter what technical jargon is used

                  13     to embroider WhatsApps’ motion, there is no substantial relationship between the Sealed Matter

                  14     involving a                             and this litigation alleging claims under the Computer

                  15     Fraud and Abuse Act (“CFAA”), the California Comprehensive Computer Data Access and Fraud

                  16     Act (“CCDAFA”), breach of contract and trespass to chattel. Were the court to harbor even a

                  17     slight concern there were some potential connection between the two matters, no K&S attorney

                  18     currently associated with the firm possesses confidential information from the Sealed Matter that

                  19     is material to the NSO Litigation. Mr. Mezzina did not need and never acquired confidential
                  20     information from WhatsApp material to the representation of NSO to prepare a “quick report”

                  21     regarding                                          . He never will obtain this information, because

                  22     the extant materials in the Sealed Matter are inaccessible to him as well as all members of the

                  23     NSO defense team.

                  24            Strict judicial scrutiny of disqualification motions is necessary to ensure they are not

                  25     abused for purely tactical reasons. IPS Grp., Inc. v. Duncan Sols., Inc. (IPS Grp.), No. 15-CV-

                  26     1526-CAB (MDD), 2017 WL 4654602, at *2 (S.D. Cal. Oct. 17, 2017) . WhatsApp waited more

                  27     than six weeks to raise K&S’s potential disqualification and then attempted to leverage it by

                  28     forcing NSO to choose between transitioning from K&S or obtaining an agreement to enlarge
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                    1    time to respond to the complaint. Declaration of Joseph N. Akrotirianakis (“Akrotirianakis

                    2    Decl.”) ¶ 11. WhatsApp’s effort to downplay Mr. Wray’s and Ms. O’Neil’s roles and departures

                    3    from the firm, and to overplay Mr. Mezzina’s 7.9 hours of appellate research—coupled with its

                    4    failure to even acknowledge Rule 1.10(b)—suggests that even WhatsApp knows this motion is

                    5    not well-founded.

                    6           Depriving NSO of highly skilled counsel of its choice will impose significant hardship

                    7    and prejudice. There are few firms qualified to handle a matter of this complexity and, of those,

                    8    many have conflicts with WhatsApp or non-moving party, Facebook. NSO, a foreign company,

                    9    will be bereft of representation for a prolonged period given the serious obstacles to retaining
                  10     counsel. The tactical advantages to WhatsApp, and the harm to NSO, are obvious. For these

                  11     reasons, K&S, on behalf of itself and its clients, asks the court to deny this motion.

                  12     II.    FACTS2
                  13            A.
                  14            Between December 19, 2015 and July 6, 2016, K&S represented WhatsApp as
                  15             in the Sealed Matter –
                  16                  . Thornton Decl. ¶ 3, Exhs. 3-4. At the time K&S was retained, the ZwillGen law
                  17     firm, WhatsApp’s regular outside D.C. based counsel, had been working on the
                  18     for months. Id., Exh. 4. WhatsApp                                                                          n
                  19                                                                                     . Id.
                  20

                  21                                            . ZwillGen           on WhatsApp’s behalf. Id.
                  22                                                                             in the Sealed Matter, the
                  23     company hired K&S t                                 ZwillGen. Id. WhatsApp required K&S to
                  24     incorporate Facebook’s outside counsel guidelines into its fee agreement. Travis LeBlanc Decl.
                  25

                  26     2
                           K&S has submitted select documents from the Sealed Matter. Under Evidence Code §958 there
                  27     is no privilege as between K&S and WhatsApp regarding these documents, however it has sought
                         to seal such documents to maintain the privilege as to third parties. In addition, K&S submits
                  28     documents protected under the attorney-work product doctrine. See, CCP §2018.080
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                    1    (“LeBlanc Decl.”) Exh. B. Under those guidelines, K&S billed through Serengeti, a web-portal

                    2    Facebook maintains. Id.

                    3                   1.     Former K&S Partners Mr. Wray And Ms. O’Neil Represent
                                               WhatsApp As
                    4
                                Although Mr. Wray was WhatsApp’s initial point of contact, Ms. O’Neil quickly became
                    5
                         the primary K&S attorney working on the matter. Thornton Decl. Exh. 1. She participated in
                    6
                         calls and emails with WhatsApp’s in-house counsel, members of Facebook’s general counsel’s
                    7
                         office and the team of outside counsel representing WhatsApp (including ZwillGen and Perkins
                    8
                         Coie attorneys)
                    9
                                                                             . Id. ZwillGen took the lead in drafting
                  10
                         correspondence and court submissions while Ms. O’Neil and Mr. Wray edited, reviewed and
                  11
                         revised them. See, e.g. Thornton Decl. Exhs 1 and 6. On February 5, 2016, Ms. O’Neil flew to
                  12
                         California to prepare WhatsApp personnel for a face-to-face meeting with
                  13
                                        . Id. Exh. 1. She attended a WhatsApp’s meeting with                       on
                  14
                         February 6, 2016, while Mr. Wray attended by phone. Id.; See also, Declaration of Jason
                  15
                         Sommer, ¶8. No other K&S attorneys attended these meetings. Id.
                  16
                                K&S partner Nick Oldham provided a total of 7.4 hours of assistance in the matter.
                  17
                         Thornton Decl. ¶ 17, Exh. 1. He oversaw the filing of WhatApp’s response to
                  18
                                when Ms. O’Neil was involved in depositions out of the office in an unrelated matter. Id.
                  19
                         Exh. 21. He provided his views regarding                            who participated in the
                  20
                         February 6, 2016 WhatsApp meeting. Id. Exh. 5. As detailed below, he also asked Mr. Mezzina
                  21
                         to prepare a “quick summary of the law and key cases, if any, regarding
                  22
                                ” and communicated with him on that subject. Id., Ex. 7; Declaration of Paul Alessio
                  23
                         Mezzina (“Mezzina Decl.”) ¶ 11.
                  24

                  25                    2.     Mezzina Researches The Availability Of A
                                On February 10, 2016, Mr. Oldham spoke with and emailed Mr. Mezzina3
                  26

                  27
                         3
                          Mr. Mezzina is now a K&S partner, but was then an associate. He has always been resident in
                  28     the Firm’s appellate department.
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                    1                                       to compel WhatsApp’s assistance                     and asked him

                    2    to prepare a “quick summary of the law and key cases” on the                                               .

                    3    Id. Mr. Mezzina billed 7.9 hours on the project, all on three consecutive days (February 9-11,

                    4    2016). Id. at ¶ 12, Ex. 2. He had no client contact and reviewed no file materials other than the

                    5    court-filed motion in the Sealed Matter. Id. at ¶ 16. On February 10 and 11, 2016, Mr. Mezzina

                    6    authored and revised a several paragraph report on                          . Thornton Decl. Exhs. 9-

                    7    19. In his communications with Mr. Oldham and Ms. O’Neil, Mr. Mezzina stressed he “did not

                    8    know enough to predict” the outcome of the four-factor test to be applied when

                    9                     and directed Mr. Oldham to address any merits issues. Id. Exh. 9, p. 2. Ms.
                  10     O’Neil counseled against focusing on the merits                                                   . Id.

                  11     Exh. 13, p. 2. The final draft of the quick report to the client included a single paragraph

                  12                                                                                                      . Id.

                  13     Ex. 19.

                  14                      3.     March 16, 2016:                       Informs WhatsApp
                  15

                  16               On March 16, 2016, the        informed WhatsApp it would not proceed
                  17                 . Id. Exh. 23. K&S’s substantive work ended on that date. Id. Exh. 1. On June 2,
                  18     2016,                   informed WhatsApp it had                                      . Id. Exh. 24.
                  19     Facebook closed the billing matter on Serengeti on July 6, 2016. Id., Exh. 25. Mr. Wray wrote
                  20     off one tenth of an hour he recorded on June 2, 2016 (presumably for reviewing the email
                  21     forwarding                                                 ) and directed his assistant to close the
                  22     file. Id. In all, K&S billed WhatsApp for 93.6 hours of work, of which 77.9 hours was recorded
                  23     by Ms. O’Neil and Mr. Wray. Id., Ex. 1.
                  24
                                          4.     All Attorneys Who Recorded Time On The Sealed Matter Depart
                  25                             K&S

                  26
                                   Mr. Wray was nominated to serve as the Director of the FBI in June 2017 and was sworn
                  27
                         in on August 2, 2017. Id. ¶ 8. He still serves in this position. After battling pancreatic cancer,
                  28
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                    1    Ms. O’Neil passed away on October 1, 2017. Id. ¶ 9. Mr. Oldham left the firm on December 4,

                    2    2017 to join Equifax and now serves as Chief Privacy and Data Governance Officer. Id. ¶10.

                    3    Mr. Mezzina left K&S on June 29, 2018 to clerk for U.S. Supreme Court Justice Neil Gorsuch.

                    4    Id. ¶ 11; Mezzina Decl. ¶6 . He returned to the firm’s D.C. office in January 2020. Id. at ¶11; Id

                    5    at ¶ 7.

                    6              B.     The NSO Litigation
                    7              Nothing in the NSO litigation is even remotely related to                                or
                    8    the legal question of
                    9                                . WhatsApp filed this action against NSO on October 29, 2019 to
                  10     recover money damages and obtain injunctive relief based on NSO’s alleged improper use of the
                  11     WhatsApp service between April and May 2019. Declaration of Shmuel Sunray (“Sunray Decl.”)
                  12     ¶ 2.
                  13               WhatsApp commenced this suit thousands of miles away from Israel, NSO’s home base,
                  14     in a jurisdiction in which NSO is not subject to personal jurisdiction. This was burdensome
                  15     enough. However, given Facebook’s domination of the legal marketplace through its retention of
                  16     dozens, if not hundreds, of law firms across the country, NSO faced an uphill battle in identifying
                  17     and retaining defense counsel. NSO had two criteria in selecting counsel: (1) a strong litigation
                  18     team in California with subject matter expertise pertinent to Plaintiff’s allegations; and, 2) cyber
                  19     security, governmental relations and national security expertise similar to Plaintiffs’ counsel’s
                  20     expertise. Id. at ¶ 2. In the small pool of firms that met NSO’s criteria, eight leading law firms
                  21     were prevented from representing NSO because of conflicts with the representation of Facebook.
                  22     Id., ¶3. After a three month search and after its General Counsel flew to the United States to
                  23     personally interview K&S attorneys, NSO retained the firm. Id., ¶ 4.
                  24               In early February 2020, shortly after NSO retained K&S, lead NSO counsel Joe
                  25     Akrotirianakis called WhatsApp’s counsel, Travis LeBlanc, to inform him K&S would represent
                  26     NSO. Akrotirianakis Decl. ¶ 5-6. Mr. LeBlanc made no mention of a potential conflict. Id. Six
                  27     weeks later, Mr. LeBlanc demanded K&S withdraw, based on Mr. Wray’s and Ms. O’Neil’s 2016
                  28
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                    1    representation of WhatsApp. Id., ¶ 11. K&S immediately suggested the parties prioritize

                    2    WhatsApp’s threatened disqualification motion and submit it for resolution before any other

                    3    motion practice, including NSO’s Motion to Dismiss. Id., ¶ 18. WhatsApp refused to so

                    4    stipulate. Id. NSO prepared and filed a comprehensive Motion to Dismiss on April 2, 2020. Id,

                    5    ¶ 20. Eight days later, WhatsApp commenced litigating its disqualification demand by filing an

                    6    Administrative Motion seeking to file its Motion to Disqualify under seal. Id. To date, K&S

                    7    attorneys have devoted in excess of 1,353 of work to defend NSO. Id., ¶ 21.

                    8              C.     Neither Mr. Mezzina Nor Any Member of the NSO Team Accessed or Has
                                          Access to the Limited Archived Sealed Matter Materials; Mr. Mezzina Has
                    9
                                          Been Screened From the NSO Litigation
                  10               In part because all of the attorneys who performed any work on the Sealed Matter
                  11     departed K&S in 2017/2018 the firm retained very few file materials, and most of what existed
                  12     was archived. Thornton Decl. ¶¶22- 29. For example, Outlook folders for each attorney who
                  13     recorded time in the Sealed Matter were archived upon their departure (or, for Ms. O’Neil, after
                  14     her passing) and are inaccessible to Firm and attorneys and staff, unless specifically requested
                  15     through the IT Department with the approval of the General Counsel’s office. Id. ¶¶ 22-24; Lloyd
                  16     Declaration, ¶¶4-7.
                  17               The Firm’s modest working file (containing materials from Ms. O’Neil and Mr. Wray)
                  18     was stored off-site at Iron Mountain and remained there until WhatsApp requested its file.4
                  19     Thornton Decl., ¶ 27; Arthur Decl. The Firm’s electronic document management system includes
                  20     a folder for the Sealed Matter which consists of seven sub-folders. Thornton Decl., ¶¶25-26.
                  21     Four of the seven contain no documents. Id., ¶25. There is one folder containing some
                  22             documents and correspondence sent to the                . Id. K&S’s General Counsel
                  23     verifies that with one exception (a K&S partner in the New York office opened the form Notice
                  24     of Appearance), the folder had not been accessed by any current attorney or staff member from
                  25     March 2016 until he and members of his team accessed it in March 2020 in response to Mr.
                  26     LeBlanc’s correspondence. Id.,¶ 26, Ex. 22. It has never been accessed by any of the attorneys
                  27

                  28     4
                             It is now safely stored in General Counsel’s office. Thornton Decl., ¶27.
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                    1    or staff involved in NSO’s defense. Id.; Lloyd Decl. ¶¶4-7. The General Counsel blocked

                    2    everyone’s access to the folder, aside from himself and members of General Counsel’s office. Id.

                    3    Sealed Matter billing records were also archived. Thornton Decl., ¶ 28; Nolan Decl.. To be

                    4    clear, the sparse file materials that remained at the Firm were all provided to WhatsApp.

                    5    Thornton Decl., ¶ 6.

                    6           As explained above, Mr. Mezzina spent only 7.9 hours researching and preparing a 9

                    7    paragraph report (spanning less than two pages) on the                                              had

                    8    no contact with WhatsApp, and did not author, revise or access any confidential communications

                    9    material to the defense of NSO. Mezzina Decl. ¶¶ 11-19, Exh. 2; Thornton Decl., Exhs. 7-20
                  10     K&S took pains to maintain this status quo and took additional steps to ensure that he has no

                  11     access to the NSO file or team. Mezzina Decl. ¶¶ 20-22; Thornton Decl. ¶¶30-32.

                  12     III.   LEGAL ARGUMENT
                  13            A.      Disqualification Motions Are Subject To “Particularly Strict Judicial
                  14                    Scrutiny”
                                Disqualification is a drastic remedy. See, TWiT, LLC v. Twitter Inc. (TWiT), No. 18-CV-
                  15
                         00341-JSC, 2018 WL 2470942, at *7 (N.D. Cal. June 1, 2018). It implicates important policy
                  16
                         considerations, including the client’s right to counsel of its choice, the attorney’s interest in
                  17
                         representing the client, the financial burden on a client, and potential tactical abuse underlying the
                  18
                         motion. People ex rel. Dept. of Corporations v. SpeeDee Oil Change Systems, Inc., 20 Cal.4th
                  19
                         1135, 1145 (1999). Courts must also weigh the need to maintain ethical standards for attorneys
                  20
                         and public trust in the “administration of justice and the integrity of the bar.” Id. Given their
                  21
                         potential to disrupt and disarm a litigation adversary, courts recognize motions to disqualify can
                  22
                         be misused for purely tactical reasons. Id. For these reasons, they are subjected to “particularly
                  23
                         strict judicial scrutiny.” IPS Grp., Inc.,2017 WL 4654602,at *2, citing Optyl Eyewear Fashion
                  24
                         Int’l Corp. v. Style Cos., Ltd,. (760 F.2d 1045, 1049 (9th Cir. 1985). Accordingly, motions to
                  25
                         disqualify must be examined carefully to “…to ensure that literalism does not deny the parties
                  26
                         substantial justice.” SpeeDee, 20 Cal.4th 1144.
                  27
                                Balancing the competing public policies tilts the scales in favor of honoring NSO’s choice
                  28
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                    1    of counsel, and denying disqualification. As explained in Sections B and C below, K&S’s

                    2    continued representation of NSO will not undermine the public’s trust in the integrity of the bar

                    3    or the administration of justice. However, there can be no dispute that NSO will suffer extreme

                    4    prejudice if it is deprived of counsel of its choice. As set forth above, finding qualified counsel

                    5    was a daunting, months-long process for NSO before it secured K&S’ representation. Sunray

                    6    Decl. The pool of law firms with the necessary expertise was small, and made smaller still by the

                    7    need to eliminate a number of firms due to Facebook conflicts. Forcing a change in counsel will

                    8    send NSO back into a diminished legal marketplace dominated by Facebook. NSO will also lose

                    9    the benefit of the significant work K&S has already performed and would have to shoulder the
                  10     increased expense of beginning anew with replacement counsel.

                  11            WhatsApps’ conduct in seeking this drastic, harmful remedy must be viewed with a

                  12     healthy dose of skepticism. WhatsApp waited more than six weeks to raise K&S’s potential

                  13     conflict and did so at a critical time. When K&S commenced its representation, WhatsApp was

                  14     prepared to take NSO’s default; NSO asserted it had not been served. WhatsApp then moved for

                  15     entry of default. On March 6, 2020, K&S moved to set aside the default and sought an additional

                  16     120 days to file a responsive pleading. It was after K&S sought additional time to file a

                  17     responsive pleading that WhatsApp raised K&S’s purported conflict. It then used potential

                  18     disqualification as a pretext for refusing to enter into rational briefing schedules. It even refused

                  19     to immediately brief the disqualification motion and pause briefing the motion to dismiss, even
                  20     though, as K&S explained, it would reduce potential harm to NSO. WhatsApp began litigating

                  21     its disqualification request only after forcing NSO to file a comprehensive Motion to Dismiss.

                  22            B.      CRPC 1.10(b) Permits K&S to Rebut Any Potential Presumption of Shared
                                        Confidences The Firm Has Established
                  23

                  24            WhatsApp makes only passing reference to the fact that of the four attorneys who
                  25     recorded any time on the Sealed Matter, three are no longer with the firm; it likewise declines to
                  26     acknowledge that one attorney now at K&S, Mr. Mezzina, had no direct contact with WhatsApp
                  27     and recorded only 7.9 hours of work for researching a                              . These facts
                  28
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                    1    should have at least suggested to WhatsApp that its disqualification request is governed by CRPC

                    2    Rule 1.10, not Rule 1.9. Rule 1.10(b) permits firms to represent a current client in a matter

                    3    adverse to a former client when “a lawyer has terminated an association with a firm” unless the

                    4    two matters are substantially related and any lawyer remaining in the firm has confidential

                    5    information material to the matter. Id. The Rule enshrines the “concept recognized in Goldberg

                    6    [] that if a lawyer who has represented a client and acquired confidential information has left the

                    7    firm, and no other lawyer who has acquired confidential information remains, then there is no one

                    8    left in the firm with knowledge that can be imputed to other lawyers in the firm.” Executive

                    9    Summary of California Rule of Professional Conduct 1.10, p.3, citing to Goldberg v.
                  10     Warner/Chappell Music, Inc.(Goldberg),125 Cal.App.4th 752, 759 (2005). RJN, Ex. 1. As the

                  11     Goldberg court explained, disqualifying a law firm “when there is no realistic chance that

                  12     confidences were disclosed [to counsel] would go far beyond the purpose of the substantial

                  13     relationship test.” Goldberg, 125 Cal.App.4th 762 (internal citations omitted). WhatsApp cites to

                  14     Goldberg, but fails to bring Rule 1.10 to the Court’s attention. Its omission is telling. Applying

                  15     Rule 1.10, K&S may represent NSO because the Sealed Matter and the NSO Litigation are not

                  16     substantially related and, even if they were, no attorney remaining at the firm possesses

                  17     confidential information material to the issues before this Court.

                  18                    1.      There is No Substantial Relationship Between the Sealed Matter and
                                                the NSO Litigation
                  19
                                The existence of a substantial relationship depends upon factual similarities between the
                  20
                         former and current representation, “the legal questions posed, and the nature and extent of the
                  21
                         attorney’s involvement in the cases.” H.F. Ahmanson & Co. v. Salomon Brothers, Inc, 229
                  22
                         Cal.App.3d 1445, 1455 (1991). The goal is to determine whether “information material to the
                  23
                         evaluation, prosecution, settlement or accomplishment of the former representation given its
                  24
                         factual and legal issues is also material to the evaluation, prosecution, settlement or
                  25
                         accomplishment of the current representation given its factual and legal issues.” Jessen v.
                  26
                         Hartford Casualty Ins. Co.,111 Cal.App.4th 698, 713 (2003). To be “material,” the information
                  27
                         acquired during the first representation must be “directly at issue in, or have some critical
                  28
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                    1    importance to, the second representation.” Farris v. Fireman’s Fund Ins. Co. 14 Cal. Rptr. 3d

                    2    618, 623 (Ct. App. 2004). If a substantial relationship is shown, courts presume that there has

                    3    been “access to confidential information by the attorney in the course of the first representation.”

                    4    Flatt v. Superior Court, 9 Cal. 4th 275, 283 (1994).

                    5                   2.      K&S Did Not Obtain Confidential Information Material to the NSO
                                                Litigation
                    6
                                 WhatsApp argues K&S must be disqualified because WhatsApps’
                    7
                                 was at issue in both the Sealed Matter and is at issue in the NSO Litigation. (Motion at
                    8
                         pp. 9-10.) A substantial relationship does not arise merely because a company’s core service may
                    9
                         be relevant to a former and current representation. TWiT, 2018 WL 2470942, at *5. A substantial
                  10
                         relationship arises only if the legal problems involved in the former and current representation are
                  11
                         similar. Id. *4.
                  12
                                 Twit is instructive. The court refused to find a substantial relationship between a former
                  13
                         and current representation simply because Plaintiff’s audio and streaming services was a fact
                  14
                         relevant to both matters. Recognizing TWiT’s core services would be a fact relevant in “nearly
                  15
                         any matter in which TWiT is a party,” the court examined whether the two matters addressed the
                  16
                         same legal problems. They did not: the first involved TWiT’s alleged patent infringement while
                  17
                         the second involved whether Twitter agreed to stay out of the audio and video market and also
                  18
                         infringed TWiT’s mark. Id. Given the distinct legal problems at the heart of the two matters, the
                  19
                         Court refused to find they were substantially related and found that any confidential
                  20
                         communications the firm had regarding the patent litigation were “immaterial” to the breach of
                  21
                         contract/trademark litigation. Id. at *4. The SC Innovations court engaged in the same analysis,
                  22
                         but reached the opposite result, for good reason. There, the former matter and the ongoing matter
                  23
                         involved the same legal claims arising out of Uber’s core services: Quinn Emannuel5 defended
                  24
                         Uber in multiple antitrust litigation matters alleging predatory pricing and then turned around and
                  25

                  26     5
                          Unlike K&S, which represented WhatsApp only as                  for a matter of months, Quinn
                  27     Emmanuel served as Uber’s primary outside litigation counsel and was included in the company’s
                         Preferred Counsel program. It advised Uber on its most high-profile litigation matters and issues,
                  28     including numerous anti-trust litigations.
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                    1    prosecuted antitrust litigation against Uber alleging predatory pricing. SC Innovations, Inc. v.

                    2    Uber Techs., Inc., No. 18-cv-07440-JCS, 2019 WL 1959493 at *7-9 (N.D. Cal. May 2, 2019).

                    3            Just as in TWiT, the legal problems in the Sealed Matter and the NSO Litigation are the

                    4    proverbial apple and orange. The Sealed Matter involved

                    5

                    6                         . Thornton Decl, Exh. 4. The focus of the representation was on

                    7    WhatsApp’s legal obligations                                     . In contrast, the focus of the NSO

                    8    litigation is NSO’s Pegasus software, the alleged conduct of NSO and its licensees, and whether

                    9    this conduct caused damage to WhatsApp.6
                  10             The information K&S obtained in the Sealed Matter is not “directly at issue in” or

                  11     relevant, much less critically important to, the NSO Litigation. Farris, 14 Cal. Rptr. 3d 623. As

                  12     in TWiT, the fact that                                           is a fact relevant to both the

                  13     Sealed Matter and the NSO Litigation, as it would be in nearly any matter in which WhatsApp is

                  14     a party. But NSO’s alleged misuse of the WhatsApp service has nothing to do with NSO

                  15

                  16                                    . In WhatsApp’s own words, it filed suit because NSO “developed

                  17     malware [Pegasus] to access messages and other communications after they were decrypted on a

                  18     device.” (Plaintiffs’ CMC Statement, ECF No. 18, p. 7:10-18.). WhatsApp does not allege NSO

                  19                               , nor that NSO’s Pegasus program uses WhatsApp servers to
                  20                              . (Comp. ¶40.) Pegasus does not

                  21                                                                     r. ECF No. 1-1, pg. 42. The only

                  22
                         6
                  23      WhatsApp alleges four causes of action: Violation of the CFAA under 18 U.S.C. §1030 et seq.;
                         Violation of CCDAFA, California Penal Code §502 (CCDAFA); Breach of Contract; and
                  24     Trespass to Chattel. The gravamen of the first two causes of action is NSO’s alleged improper
                         access of WhatsApp’s servers without authorization. (Compl. pp. 10-13) The company’s breach
                  25     of contract cause of action asserts NSO violated WhatsApp’s Terms of Service. WhatsApp’s
                  26     Trespass to Chattel cause of action asserts NSO “interfered with [WhatsApp’s] possessory
                         interest in [its] computer systems.” Compl. ¶76. WhatsApp seeks to recover its losses, including
                  27     “expenditure of resources to investigate and remediate Defendants’ conduct, damage to [its]
                         reputation, and damages to the relationship and goodwill between [it] and [its] users and potential
                  28     users.” (Compl. ¶73).
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                    1    alleged use of WhatsApp messages is to send a single message to the target device. Any

                    2                 that happens thereafter has nothing to do with

                    3

                    4           As in TWiT, the fact that WhatsApp provides                                       is likely

                    5    relevant “in nearly any matter in which it is a party. TWiT at *5. And as in TWiT, there is no

                    6    overlap between the legal and factual issues in the Sealed Matter and the NSO Litigation.

                    7

                    8                                  , have nothing to do with NSO’s Pegasus software and the alleged

                    9    conduct of NSO and its licensees. The absence of a substantial relationship between the Sealed
                  10     Matter and the NSO Litigation compels denial of WhatsApp’s motion.

                  11                    3.      No Current K&S Attorney Possesses Confidential Information
                                                Material to the NSO Matter
                  12
                                Even if the Sealed Matter and the NSO Litigation were determined to be substantially
                  13
                         related, under Rule 1.10(b) K&S can only be disqualified if it is determined any lawyer remaining
                  14
                         at the firm actually acquired material confidential information.” State Compensation Fund v.
                  15
                         Drobot (Drobot) SACV 13-956 AG, 2014 WL 12579808, *5 (C.D. California 2014), No. SACV
                  16
                         13-956 AG (CWX), 2014 WL 12579808, at *6 (C.D. Cal., July 11, 2014) (firm rebutted
                  17
                         presumption through submitting evidence tainted attorney had left the firm three years prior to the
                  18
                         filing of the ongoing matter, had no time entries discussing the case with attorneys still at the
                  19
                         firm, and was in a different practice group than the attorneys working on the matter); see also
                  20
                         Farhang v. Indian Institute of Technology, Kharagpur, No. C-08-02658 RMW, 2010 WL
                  21
                         199706 (N.D. Cal., Jan. 13, 2010) (firm rebutted presumption through submitting evidence all
                  22
                         attorneys who billed time on plaintiff’s matter were no longer with the firm and no current
                  23
                         employee had any mention of plaintiff’s name in their time entries); Celebrity Chefs Tour, LLC v.
                  24
                         Macy's, Inc, No. 13-CV-2714 JLS (KSC), 2014 WL 12160744, at *4 (S.D. Cal., Jan. 23, 2014)
                  25
                         (holding firm rebutted any presumption of imputed knowledge of client’s confidential
                  26
                         information by showing all attorneys who represented client had left the firm and assuring the
                  27
                         court that no such confidential information was divulged). No K&S attorney remaining in the
                  28
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                    1    firm acquired confidential information from WhatsApp that is material to the NSO Litigation. 7

                    2    Mezzina Decl., ¶¶ 9-19. Exh. 2; Thornton Decl., Exs. 9-20; Declaration of Sumon Dantiki

                    3    (“Dantiki Decl.”); Declaration of Rod J. Rosenstein (“Rosenstein Decl.”); Declaration of Aaron

                    4    Craig (“Craig Decl.”); Declaration of Matthew Noller (“Noller Decl.”); Akrotirianakis Decl. ¶¶

                    5    22-28.

                    6             WhatsApp concedes Ms. O’Neil, Mr. Wray and Mr. Oldham are no longer K&S

                    7    attorneys. Thornton Decl., ¶¶ 7-12. It submitted no evidence that any WhatsApp representative

                    8    ever had contact with Mr. Mezzina, and understands the firm’s representation lasted only four

                    9    months, four years ago. K&S disputes that any of the confidential information K&S obtained in
                  10     the Sealed Matter is material to its defense of NSO in this litigation. What is more, WhatsApp’s

                  11     evidence establishes that only Ms. O’Neil and Mr. Wray participated in calls and meetings with

                  12     WhatsApp and its legal team and only they (with minimal assistance from Mr. Oldham)

                  13     reviewed, revised and advised on correspondence with t                                   and court submissions.

                  14     Declaration of Jacob Sommer (“Sommer Decl.”) ¶¶ 1-12. Mr. Sommer does not suggest Mr.

                  15     Mezzina participated in such work, had any client contact, or received confidential client

                  16     information material to the defense of NSO. There is no evidence submitted by WhatsApp that

                  17     any K&S attorney other than Ms. O’Neil and Mr. Wray had direct contact with or acquired any

                  18     confidential information from WhatsApp.

                  19              The lack of any connection between any current K&S attorney and confidential
                  20     WhatsApp information is confirmed by K&S’s evidence. Most of the 93.6 hours for which K&S

                  21     billed WhatsApp was for work performed by Ms. O’Neil and Mr. Wray (together they billed 77.9

                  22     hours). Thornton Decl. ¶17, Ex. 1. Mr. Mezzina billed 7.9 hours for the discrete research he

                  23     performed and quick email report. Id. His work product demonstrates he reviewed the

                  24                                               an order, case law and court-filed documents in other cases to

                  25
                         7
                           Though it applies specifically to assessing whether under Rule 1.10(a)(2), an attorney “substantially participated” in
                  26     a representation of a client such that disqualification is warranted, Comment 1 provides a good road map for
                         analyzing Mr. Mezzina’s limited role in the Sealed Matter. The factors to be considered include “the lawyer’s level
                  27     of responsibility in the prior matter, the duration of the lawyer’s participation, the extent to which the lawyer advised
                         or had personal contact with the former client, and the extent to which the lawyer was exposed to confidential
                  28     information of the former client likely to be material in the current matter.” RJN, Ex. 1.
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                    1    prepare the “quick report.” Exhs. 9-20. None of the documents Mezzina received or the work

                    2    product he prepared refer or relate to confidential client information material to NSO’s defense

                    3    here. His research was on                    , and thus a grasp of the facts was unnecessary. In

                    4    addition, he conceded his lack of knowledge of the facts and legal issues in his email report.

                    5    Mezzina Decl. ¶ 14-19; Thornton Decl., Exhs. 9, 13.

                    6            As in Drobot, the evidence here establishes Mr. Mezzina never possessed WhatsApp’s

                    7    confidential information material to the defense of this case and no member of the NSO defense

                    8    team was aware of the representation or accessed file material from the case. The Sealed Matter

                    9    file materials were archived, never accessed by any member of the NSO team and are now
                  10     inaccessible to all with the limited exception of members of General Counsel’s office. Drobot,

                  11     *8; Thornton Decl. ¶¶22-29; Dantiki Decl.; Rosenstein Decl.; Craig Decl.; Noller Decl.;

                  12     Akrotirianakis Decl. ¶¶22-28.

                  13             K&S hired special counsel to oppose this motion to further shield members of the NSO

                  14     litigation team from information related to the Sealed Matter.8 Thornton Decl., ¶29. And as in

                  15     Drobot, there is “no genuine likelihood that allowing [K&S] to remain on this case will affect the

                  16     outcome of the proceedings before the Court.” Drobot, 2014 WL 12579808, *5.

                  17             Ignoring the evidence, WhatsApp suggests the court should apply Davis v. EMI Grp. Ltd.

                  18     No. 12-cv-1602 YGR, 2013 WL 75781, at *4-5 (N.D. Cal. Jan. 4, 2013) to disqualify K&S. The

                  19     case is inapposite. In Davis, Mitchell Silberberg & Knupp (“MSK”) represented Ms. Davis and
                  20     her band, The Motels, for a decade on a variety of matters, including contract negotiation, royalty

                  21     payments and general band management. MSK attorneys negotiated the very recording contracts

                  22     with EMI at issue in the litigation. MSK even retained Davis’ tax returns, audits, royalty

                  23     statements and contract amendments, which were all directly relevant in the litigation. MSK

                  24     sought Davis’ consent to its representation of EMI. She refused, but the firm continued with the

                  25     representation anyway because the attorneys who worked most closely with Davis had left the

                  26     firm. MSK conceded (as it should have) that there was a substantial relationship between its

                  27
                         8
                          The NSO defense team have only reviewed the portions of the opposition that summarize the
                  28     NSO Litigation, their declarations and the Sunray Declaration.
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                    1    former representation of Davis and its current representation of EMI. In addition, there was

                    2    evidence EMI hired MSK because it “perceived an advantage due to the prior relationship.” Id. at

                    3    *4. Against this backdrop, the Court disqualified MSK, finding its representation of Davis was

                    4    “extensive” and the opportunities for sharing confidences with others in the firm “were many.”

                    5    Id.

                    6           There is no basis for applying Davis here. K&S provided WhatsApp less than 94 hours of

                    7    services in the Sealed Matter; the representation was not “extensive.” The four attorneys who

                    8    performed work on the matter departed the firm in 2017 and 2018. Two of the members of the

                    9    NSO defense team joined the Firm in April 2017, barely overlapping with Ms. O’Neil, Mr. Wray
                  10     and Mr. Oldham. Mr. Craig had no contact with any of them, and Mr. Akrotirionakis’s only

                  11     contact with Mr. Wray was a roughly ten minute telephone call for another client. Craig Decl. ¶

                  12     Akrotirianakis Decl. ¶ 23-28. Mr. Noller joined the Firm in August 2018. Noller Decl. ¶2. Mr.

                  13     Dantiki and Mr. Rosenstein joined K&S in 2019 and 2020. Dantiki Decl. ¶2; Rosenstein Decl. ¶

                  14     2.

                  15            Obviously, Mr. Mezzina cannot share confidential material to the NSO defense he never

                  16     had. Screening implemented by K&S ensures no one can access information about the Sealed

                  17     Matter outside the General Counsel’s office. Mr. Mezzina has not communicated with any

                  18     member of the NSO team about his limited work in the Sealed Matter. Mezzina Decl. ¶¶9-19.

                  19     The NSO Litigation team was not even aware of the Sealed Matter until Mr. LeBlanc’s March 18,
                  20     2020 correspondence. Akrotirianakis Decl. ¶ 22. No member of the NSO Litigation team ever

                  21     accessed file material in the Sealed Matter and ever will: access to the Sealed Matter is restricted.

                  22     Thornton Decl. ¶ 22-32; Dantiki Decl.; Rosenstein Decl.; Craig Decl.; Noller Decl.;

                  23     Akrotirianakis Decl.

                  24            C.      There is No Basis to Disqualify K&S Under CRPC Rule 1.9
                  25            WhatsApp urges the Court to disqualify K&S pursuant to California Rule of Professional
                  26     Conduct, Rule 1.9. This Rule prohibits a lawyer from representing a new client in a matter
                  27     adverse to a former client where there is a substantial relationship between the two matters
                  28
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                    1    (absent the informed written consent of the former client). The Rule is inapplicable here for two

                    2    reasons, either sufficient to deny the motion: 1) as established in section III(B)(1) there is no

                    3    substantial relationship between the Sealed Matter and the NSO litigation; and, 2) no current

                    4    K&S attorney represented WhatsApp in the Sealed Matter or acquired confidential information

                    5    material to the defense of NSO.

                    6               As formulated, Rule 1.9 prohibits “a lawyer” who formerly represented a client in a matter

                    7    from representing another client in another matter that is both adverse and substantially related to

                    8    the former matter. WhatsApp concedes that the two primary counsel in the Sealed Matter – Ms.

                    9    O’Neil and Mr. Wray – are no longer at K&S and acknowledges that a third K&S attorney, Mr.
                  10     Oldham, is also no longer with the firm. Its entire disqualification analysis rests on Mr.

                  11     Mezzina’s 7.9 hours of work for WhatsApp.

                  12                Mr. Mezzina’s limited work researching                                         does not rise to the

                  13     level of “representation” under Rule 1.9. For the purposes of a disqualification analysis,

                  14     representation exists where “an attorney knowingly obtains material confidential information

                  15     from the client and renders legal advice or services as a result.”9 See, SpeeDee, 20 Cal.4th 1148.

                  16     A representation sufficient to trigger a conflicts analysis does not exist where an attorney was

                  17     “not called upon to formulate a legal strategy and by the very limited nature of his contact with

                  18     [the client] could not have gained detailed knowledge of the pertinent facts and legal principles.”

                  19     In re Marriage of Zimmerman, 16 Cal.App. 4th 556, 565 (1993). Mr. Mezzina was not called
                  20     upon to formulate a legal strategy with regard to WhatsApp’s response to

                  21                                                                        . Mezzina Decl. ¶¶11-19. He had no

                  22     contact with WhatsApp and did not gain “detailed knowledge regarding the pertinent facts and

                  23     legal principals” at issue in the Sealed Matter. Id., Thornton Decl. Exhs. 1-20.

                  24     IV.        CONCLUSION
                  25                In determining whether the drastic remedy WhatsApp seeks is warranted, the Court must
                  26     balance several important interests, including NSO’s right to be represented by experienced
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                             “[M]aterial” means to “material to the employment”. Id. at p. 1147.
LONG & LEVIT LLP
                                                                                               KING & SPALDING LLP’S OPPOSITION TO MOTION
465 CALIFORNIA STREET,
      5TH FLOOR                                                                  - 17 -                    TO DISQUALIFY – 4:19-cv-07123-PJH
    SAN FRANCISCO,
   CALIFORNIA 94104
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                    1    counsel of its choice, preventing abuse of disqualification motions and prejudice to NSO while at

                    2    the same time ensuring public trust in the courts and standards of ethical practice are

                    3    maintained. K&S has demonstrated the balance weighs in favor of its client, NSO and that all of

                    4    the elements necessary to apply Rule 1.10(b) exist: three of the four attorneys involved in the

                    5    Sealed Matter “terminated” their association with K&S in 2017, the NSO litigation is not

                    6    substantially related to the Sealed Matter, and the only attorney now at K&S, Mr. Mezzina, did

                    7    not acquire and does not have any confidential information material to the defense of NSO. K&S

                    8    has taken care to ensure that neither he, nor any member of the NSO Defense team, nor any other

                    9    attorney or staff has access to the limited extant file materials. The integrity of this process or the
                  10     court will not be jeopardized by preserving NSO’s attorney-client relationship with K&S. In

                  11     contrast, the harm to NSO that would flow from disqualification is significant. For these reasons,

                  12     K&S, for itself and on behalf of its clients, respectfully requests the Court to deny this motion.

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                         Dated: May 29, 2020.                                LONG & LEVIT LLP
                  16

                  17
                                                                             By: /s/ Jessica R. MacGregor
                  18                                                            JESSICA R. MACGREGOR
                                                                                Specially Appearing For Third Party
                  19                                                            KING & SPALDING LLP
                  20

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LONG & LEVIT LLP
                                                                                     KING & SPALDING LLP’S OPPOSITION TO MOTION
465 CALIFORNIA STREET,
      5TH FLOOR                                                         - 18 -                   TO DISQUALIFY – 4:19-cv-07123-PJH
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